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1    BENJAMIN B. WAGNER
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4    Telephone: (916) 554-2700
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7
8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )       2:12-CR-00013-CKD
                                  )
12              Plaintiff,        )       STIPULATION TO SET TRIAL
                                  )       CONFIRMATION HEARING AND JURY
13    v.                          )       TRIAL, VACATE STATUS HEARING,
                                  )       EXCLUDE TIME; AND right,
14   TAMARA A. CLAIRBORNE, and    )       ORDER
     RODNEY L. TAYLOR,            )
15                                )       DATE: April 26, 2012
                                  )       TIME: 9:00 a.m.
16             Defendants.        )       JUDGE: Hon. Carolyn K. Delaney
     _____________________________)
17
18        It is hereby stipulated and agreed between the United States
19   and the defendants, by and through their respective counsel, to
20   set the Trial Confirmation Hearing for June 21, 2012 at 9:00
21   a.m., set the Jury Trial for July 9, 2012 at 9:00 a.m., and
22   vacate the Status Hearing set for April 26, 2012 at 9:00 a.m.
23        Additionally, the parties stipulate and agree that time
24   should be excluded from the signing of this Order until June 21,
25   2012, under 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4) to
26   ensure continuity of counsel for both defendants and to allow
27   counsel for the defendants and the United States reasonable time
28   necessary for effective preparation.      The parties request that

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1    the Court make a finding that the ends of justice served by the
2    granting of such continuance outweighs the best interests of the
3    public and the defendants in a speedy trial.
4    DATED: April 24, 2012            BENJAMIN B. WAGNER
                                      United States Attorney
5
6
                                       /s/ Justin L. Lee
7                                     JUSTIN L. LEE
                                      Special Assistant U.S. Attorney
8
9    DATED: April 24, 2012            DANIEL J. BRODERICK
                                      Federal Defender
10
11                                    (as authorized on 4/24/2012)
                                       /s/ Linda Harter
12                                    LINDA HARTER
                                      Chief Assistant Federal Defender
13                                    Attorney for Tamara Clairborne
14
                                      (as authorized on 4/24/2012)
15   DATED: April 24, 2012             /s/ Kendall Dawson Wasley
                                      KENDALL DAWSON WASLEY
16                                    Attorney for Rodney Taylor
17
18
19
20                                  O R D E R
21        IT IS SO ORDERED.
22   DATED: April 25    , 2012
23
                                        /s/ Carolyn K. Delaney
24                                    HONORABLE CAROLYN K. DELANEY
                                      United States Magistrate Judge
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